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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                    CRIMINAL MINUTES - GENERAL
                                                                                                      Page 1 of 3
Case No.      CR 17-661(A)-DMG                                                         Date     September 14, 2021

Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE
Interpreter     N/A
                                                                                         Kristen A. Williams
                                                                                           Ali Moghaddas
               Kane Tien                         Miriam Baird                              David H. Chao
                                                                                         David C. Lachman
                                                                                          Elisa Fernandez
              Deputy Clerk                       Court Reporter                           Assistant U.S. Attorney

U.S.A. v. Defendant(s):                Present   Cust.   Bond     Attorneys for Defendant(s):     Present   Appt.    Ret.
1) Julian Omidi                                                 1) Michael S. Schachter                               
                                                                  1) Randall W. Jackson                                 
                                                                  1) Edmund W. Searby -                                 
                                                                  Tele
3) Surgery Center Management, LLC                                3) Michael Devereux                                   
4) Mirali Zarrabi                                               4) Thomas P. O’Brien                                  
                                                                  4) Ivy A. Wang                                        
                                                                  4) Jennie W. VonCannon                                
                                                                  4) Luke A. Fiedler                                    
                                                                  4) Matthew Kussman                                    

    Proceedings: PRETRIAL CONFERENCE
                      DEFENDANT JULIAN OMIDI’S MOTION IN LIMINE TO PRECLUDE THE GOVERNMENT
                      FROM ASKING IMPROPER MATERIALITY QUESTIONS AT TRIAL [1188]

                      DEFENDANTS JULIAN OMIDI AND MIRALI ZARABI’S MOTION IN LIMINE TO PRECLUDE
                      THE ADMISSION OF HEARSAY PURSUANT TO RULE 801(D)(2)(E) WITHOUT PRIOR
                      SHOWING BY THE GOVERNMENT TO DEMONSTRATE FOUNDATION FOR CO-
                      CONSPIRATOR EXCEPTION [1189]

                      DEFENDANT MIRALI ZARRABI, M.D.’S MOTION IN LIMINE TO EXCLUDE PREJUDICIAL
                      AND IRRELEVANT PATIENT TESTIMONY [1191]

                      GOVERNMENT’S MOTION IN LIMINE TO ADMIT CERTAIN STATEMENTS                                     OF
                      DEFENDANT MIRALI ZARRABI PURSUANT TO FRE 801(d)(2)(A) [1192]

                      DEFENDANT JULIAN OMIDI’S MOTION IN LIMINE TO EXCLUDE TESTIMONIAL
                      STATEMENTS OF DEFENDANT ZARRABI [1193]

                      GOVERNMENT’S MOTION IN LIMINE TO ADMIT SUMMARY CHARTS PURSUANT TO
                      FEDERAL RULE OF EVIDENCE 1006 [1194]


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              DEFENDANTS JULIAN OMIDI AND MIRALI ZARRABI’S MOTION TO PRECLUDE THE
              TESTIMONY OF MICHAEL PETRON [1196]

              GOVERNMENT’S MOTION IN LIMINE TO ADMIT EVIDENCE AS INEXTRICABLY
              INTERTWINED OR, IN THE ALTERNATIVE, PURSUANT TO FEDERAL RULE OF
              EVIDENCE 404(B) [1199]

              DEFENDANTS JULIAN OMIDI AND MIRALI ZARRABI’S MOTION TO LIMIT THE
              TESTIMONY OF DR. DANIEL NORMAN [1200]

              DEFENDANT JULIAN OMIDI’S MOTION IN LIMINE TO: (1) PRECLUDE ARGUMENT,
              EVIDENCE, AND REFERENCE TO “VICTIMS” OTHER THAN THE INSURANCE
              COMPANIES; AND (2) EXCLUDE “IMPACT” TESTIMONY BY PATIENTS CONCERNING
              NEGATIVE CLINICAL EXPERIENCES AND OUTCOMES [1203]

              DEFENDANTS JULIAN OMIDI AND MIRALI ZARRABI’S MOTION TO EXCLUDE
              CONTENTS OF MICHAEL ZARRABI’S DELL COMPUTER TOWER AND HARD DRIVE [1207]

              DEFENDANT JULIAN OMIDI’S MOTION IN LIMINE TO EXCLUDE                             EVIDENCE
              REGARDING “COMMISSIONS” PAID TO PATIENT CARE SPECIALISTS [1209]

              DEFENDANTS JULIAN OMIDI AND MIRALI ZARRABI’S MOTION TO PRECLUDE
              EVIDENCE OF CHARLES KLASKY’S WIFE’S ILLNESS AND NEED FOR HEALTH
              INSURANCE [1215]

              DEFENDANTS JULIAN OMIDI AND MIRALI ZARRABI’S MOTION TO ADMIT CHARLES
              KLASKY’S PRIOR INVOCATION OF THE FIFTH AMENDMENT FOR IMPEACHMENT
              PURPOSES [1218]

              GOVERNMENT’S MOTION IN LIMINE TO ADMIT BUSINESS RECORDS AND
              AUTHENTICATE OTHER RECORDS PURSUANT TO FEDERAL RULES OF EVIDENCE
              902(11) AND 901 [1220]

              DEFENDANT JULIAN OMIDI’S MOTION IN LIMINE TO PRECLUDE EVIDENCE
              CONCERNING IRRELEVANT BILLING PRACTICES AND ADVERTISING AND
              MARKETING EFFORTS, AND TO PRECLUDE THE TESTIMONY OF BARBARA BALCOM,
              TOM JOHNSON, AND TOMMY IORIO [1223]

              GOVERNMENT’S MOTION IN LIMINE TO EXCLUDE THE EXPERT TESTIMONY OF DR.
              CHARLES SALDANHA [1226]

              DEFENDANTS JULIAN OMIDI AND MIRALI ZARRABI’S MOTION TO PRECLUDE
              CHARLES KLASKY FROM OFFERING OPINION TESTIMONY [1235]

         The cause is called and counsel state their appearance. The Court invites counsel to respond to
its tentative rulings on the motions in limine (“MIL”). The Court hears argument. A written order on
the MILs will issue.

        The Final Pretrial Conference is held. The Court and counsel confer regarding the logistics of
trial. The Jury Trial shall commence on Tuesday, September 21, 2021 at 8:30 a.m. and is estimated to

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be three (3) months. Each party shall be allotted up to 30 minutes to present its opening statements.
Counsel are instructed to familiarize themselves with the Court's audio-visual equipment prior to the
first day of trial, as well as the Criminal Motion and Trial Order [Doc. # 146] with regard to general
decorum and courtroom procedures.

       The parties shall provide the courtroom deputy clerk with a Word version of the agreed and
disputed jury instructions.

        The Government Filter Team shall provide Defendants and the Prosecution Team with a
summarized list of the categories of documents that were late-produced to Defendants as expeditiously
as possible but by no later than September 17, 2021.




                                                                                                 2:08




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